                     Case:17-05520-swd             Doc #:29 Filed: 02/27/18      Page 1 of 1
Form OSTRKCE (12/15)
                                          United States Bankruptcy Court
                                           Western District of Michigan
                                               One Division Ave., N.
                                                     Room 200
                                              Grand Rapids, MI 49503


IN RE: Debtor (name used by the debtor in the last 8 years,
including married, maiden, trade, and address):
                                                                   Case Number 17−05520−swd
        Jeffrey R Cullen
        314 East Washington Street                                 Chapter 13
        DeWitt, MI 48820
        SSN: xxx−xx−1151                                           Honorable Scott W. Dales
                                                      Debtor



                                      NOTICE OF DEFECTIVE CLAIM

In the above−noted case, the Clerk of the Bankruptcy Court has determined that pursuant to LBR
5005−2(e), the following proof of claim presented for filing is deemed defective:


                   Claim Number: 1

                   Name of Claimant: Snap On Credit

                   Reason for Defect: Other This claim has a watermark across it. This is not permitted in our
                   Court. Please correct and re−file.


         NOTICE IS FURTHER GIVEN that the following action must be taken.

              Document needs to be re−filed



If you have any questions, please contact the ECF HelpDesk by e:mailing
ecfhelpdeskmiwb@miwb.uscourts.gov , calling (616) 456−2693 or by using online chat via
www.miwb.uscourts.gov




Dated: February 27, 2018
